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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      District of
                                                  __________      Massachusetts
                                                               District of __________

                  United States of America                         )
                             v.                                    )
 DANIELLE NECOLE LIGGINS and CHARLES OCHI
                                                                   )      Case No.
                                                                   )                  22-MJ-7106-JCB
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              January 2017 to August 2021       in the county of                Suffolk         in the
                       District of         Massachusetts       , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 371                                 Conspiracy to operate an unlicensed money transmitting business.




         This criminal complaint is based on these facts:
See the attached affidavit of FBI Special Agent James D. Bedsole.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                     FBI Special Agent James D. Bedsole
                                                                                               Printed name and title

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          3:24 PM, Apr 25, 2022
Date:
                                                                                                 Judge’s signature

City and state:                   Boston, Massachusetts
                                                husset
                                                    e ts                                      Hon. Jennifer C. Boal
                                                                                               Printed name and title
